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UNITED STATES DISTRICT COURT Cre

SOUTHERN DISTRICT OF OHIO aime,
COLUMBUS DIVISION C2 LN GO PH og

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Arlington, Virginia 22201
L-3 SERVICES, INC.
1320 Braddock Place
Alexandria, VA 22314

Defendants.

)
SUHAIL NAJIM ABDULLAH ) eS
AL SHIMARI )
Baghdad, Iraq )
)
Plaintiff )
)
Vv. )
) CIVIL COMPLAINT
TIMOTHY DUGAN ) AND JURY DEMAND
75 S. Township Road )
Pataskala, Ohio 43062 )
) 2:08v 637
CACI INTERNATIONAL, INC. _ )
1100 North Glebe Road, )
Arlington, Virginia 22201 )
)
CACI PREMIER )
TECHNOLOGY, INC. )
1100 North Glebe Road, )
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COMPLAINT

l. Suhail Najim Abdullah Al Shimari, an Iraqi civilian, was imprisoned
and tortured at Abu Ghraib, a prison in Iraq. He brings this tort action against
those who tortured, and conspired with others to torture, him: Timothy Dugan, a
resident of the Columbus Division of the Southern District of Ohio, CACI, and L-3
Services (formerly Titan Corporation}, both publicly-traded corporations that made
millions of dollars selling the services of Dugan and other employees to the United
States military.

JURISDICTION AND VENUE

2. This Court has original jurisdiction over the subject matter of this
action pursuant to 28 U.S.C. § 1331 (federal question); 28 U.S.C. § 1332 (diversity
jurisdiction); 28 U.S.C. § 1350 (Alien Tort Statute); and 28 U.S.C. § 1367
(supplemental jurisdiction).

3. Venue is proper pursuant to U.S.C. § 1391(a)(3) and § 1391(b)(2).

4, Plaintiff Suhail Najim Abdullah Al Shimani resides in Baghdad, Iraq.
He is an innocent Iraqi who was badly tortured by defendants and their co-
conspirators.

5, Defendant Timothy Dugan is an individual residing at 75 S. Township
Road, Pataskala, Ohio 43062. He currently works for S.C. Solutions Inc., 4119

Ashgrove Drive, Grove City, Ohio 43123.

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6. Detendant Dugan was employed by Defendant CACI as a screener
and interrogator at Abu Ghraib prison and other prisons in Iraq from October 2003
to May 2004.

7. Defendant CACI International Inc. is a publicly-traded Delaware
corporation with headquarters located at 1100 North Glebe Road, Arlington,
Virginia 22201. Defendant CACI Premier Technology, Inc. 1s a wholly-owned
subsidiary and alter ego of CACTI International Inc., and is also located at 1100
North Glebe Road, Arlington, Virginia 22201.

8. CACI received millions of dollars from the United States in exchange
for providing the United States Army with services, including interrogation
services.

9, Defendant L-3 Services, Inc. is a publicly-traded Delaware
corporation with headquarters located at 1320 Braddock Place, Alexandria,
Virginia 22314, L-3 employed all the civilian translators used by the military in
Traq, including a man named Adel Nakhla.

10. L-3 received millions of dollars from the United States in exchange
for providing the United States Army with services, including translation and

interrogation services.
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THE TORTURE OF SUHAIL NAJIM ABDULLAH AL SHIMARI

11. Mr. Al Shimari was repeatedly and gravely tortured by Defendants
and their co-conspirators after being arrested at his home on or about November 7,
2003.

12. After his arrest, Mr. Al Shimari was placed in a cage, and threatened
with death and with being taken to a “far away” place. He was threatened with
dogs.

13. Thereafter, Mr. Al Shimari was moved to the “hard site” at the Abu
Ghraib prison. He remained there for approximately two months, after which he
was transferred first to the Abu Ghraib tent prison and then to Camp Bucca,
another prison in Iraq. Mr. Al Shimari was kept imprisoned for no reason for more
than four years. On or about March 27, 2008, Mr. Al Shimari was finally released
— without ever having been charged with any crime or having received any Judicial
process.

14. Mr. Al Shimari was subjected to electric shock during interrogations
conducted at the Abu Ghraib prison.

15. Mr, Al Shimari was struck with a baton-like instrument and beaten.

16. Mr. Al Shimari was deprived of food.

17. Mr. Al Shimari was deprived of sleep for extended periods of time.
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18. Mr. Al Shimari was threatened with dogs.

19, Mr. Al Shimari was subjected to sensory deprivation and to extreme
temperatures.

20. Mr. Al Shimari was stripped naked and kept naked in his cell.

21. Mr. Al Shimari was threatened with death.

22. Mr. Al Shimari was kept naked and forced to engage in physical
activity to the point of exhaustion.

23, Mr. Al Shimari was forcibly shaved.

24, Mr. Al Shimari was forced to watch as Defendants and their co-
conspirators choked another prisoner.

25. Mr, Al Shimari returned to Baghdad after his release. He reunited his

family, and now makes a living by farming his land.

THE TORTURE CONSPIRACY

26. Although Mr. Al Shimari was often hooded when he was being
interrogated and tortured, and he was never told the names of his torturers, certain
facts about the “hard site” torture are known.

27. The facts known to date show that Dugan, other CACI employees
(e.g. Steven Stefanowicz (hereinafter “Big Steve”) and Daniel Johnson), and L-3

employees (e.g. Adel Nakhla), conspired with certain military personnel to torture
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prisoners kept at the Abu Ghraib hard site. Dugan and other corporate employees
instigated, directed, participated in, aided, and abetted conduct towards prisoners
that clearly violated the Geneva Conventions, the Army Field Manual, and the
laws of the United States.

28. Defendant Dugan personally engaged in the torture of prisoners.
Dugan threw a handcufted and hooded prisoner from a vehicle onto the ground,
and dragged him across the rocks to an interrogation booth, bruising the prisoner.
Whenever the prisoner tried to get up to his knees, Dugan knocked him down
again.

29. Defendant Dugan bragged to other interrogators that he had broken an
Iraqi general during interrogation by threatening the general’s son. Dugan and
other interrogators had roughed up the son, ripped his clothes, and smeared mud on
him, to make it look as though he had been severely beaten, and brought him into
his father’s interrogation booth.

30. Defendant Dugan struck prisoners, deprived them of sleep, stripped
them naked, shackled them in painful positions, and threatened prisoners and their
family members.

31. Military intelligence soldiers were not able to prevent Dugan and
other CACTI interrogators from abusing prisoners. Dugan bragged to a non-

conspiring soldier on his interrogation team that he had fnghtened a prisoner

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during interrogation so badly that the prisoner had vomited. The soldier John Neal,
told military invesugators in a sworn statement that he when he instructed Dugan
to cease torturing prisoners and comply with Army Field Manual 34-52, Dugan
responded, “I have been doing this for 20 years and I do not need a 20-year-old
telling me how to my job.”

32. Torin Nelson, another CACI employee, reported his suspicions that
Dugan hac tortured prisoners to the U.S. Army’s Criminal Investigation Division.
When Dugan learned of this from co-conspirators, he threatened Nelson that "You
better watch your back,” and that “You're dead to me.” Nelson, fearing for his
physical safety, left his job with CACI and left Iraq.

33, The acts of Dugan and other CACI employees constitute acts of
CACI. CACI conveyed its intent to join the conspiracy by making a series of
verbal statements and by engaging in a series of criminal acts of torture alongside
and in conjunction with several co-conspirators.

34, CACI’s motivation was wholly financial -- it made millions of dollars
as aresult of keeping quiet about and participating in the conspiracy to torture and
mistreat Mr. Al-Shimari and other prisoners.

35. Dugan and his fellow CACT interrogators were not the only corporate

employees involved in the hard site torture. L-3 translators, including Adel
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Nakhla, participated at every step along the way, translating threats and in some
instances assisting with the physical torture of hard site victims.

36. The acts of Adel Nakhla and other L-3 translators constitute acts of L-
3. L-3 conveyed its intent to join the conspiracy by making a series of verbal
statements and by engaging in a series of criminal acts of torture alongside and in
conjunction with several co-conspirators.

37. L-3’s motivation was wholly financial -- it made millions of dollars as
a result of keeping quiet about and participating in the conspiracy to torture and
mistreat Mr. Al Shimari and other prisoners.

CACI AND L-3 COULD HAVE PREVENTED AND STOPPED
THEIR EMPLOYEES FROM TORTURING MR. AL SHIMARI

38. Dugan worked for CACI Premier Technology. CACI Premier
Technology is an alter ego of CACI International Inc., not a separate fully-
capitalized business governed and controlled by independent executives with full
autonomy. CACTI International Inc. wholly owns and controls CACI Premier
Technology, and operates CACI Premier Technology as one of its corporate
divisions. CACI International Inc. executives controlled how and whether CACI
Premier Technology did business in Iraq.

39. CACTI has admitted that it had the ability to control, direct and

influence the actions performed by Dugan and their other employees. CACI had
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the ability to prevent Dugan and the other employees from torturing Mr. Al
Shimari.

40. Adel Nakhla worked for L-3, as did the other translators who kicked,
beat, and threatened Mr. Al Shimari. L-3’s Adel Nakhla has confessed to
government officials that he participated in torturing hard site prisoners.

4]. L-3 had the ability to control, direct, and influence the actions taken
by their employees who directly participated in the torture of prisoners. L-3 had
the ability to prevent Nakhla and the other translators from torturing prisoners.

42. CACI and L-3 at all times were obliged by the terms of its contract to
supervise their employees such as Dugan and Nakhla.

43. CACTI and L-3 at all times retained the ability to stop Dugan, Nakhla,
and their other employees from torturing Mr. Al Shimaari.

44, CACTI and L-3 are responsible for the actions taken by their
employees towards Mr. Al Shimari.

DEFENDANTS AND THEIR CO-CONSPIRATORS TOOK STEPS TO
COVER UP THE SCOPE AND EXTENT OF TORTURE

45. To date, the “investigations” of the events at Abu Ghraib have failed
to include the fundamental step of interviewing the hard site victims.
46. Reasonable discovery will establish that, in addition to participating in

the actual physical and mental abuse of the plaintiff, Dugan, other CACI
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employees (including but not limited to Steve Stefanowicz and Daniel Johnson),
Adel Nakhla, and other L-3 employees participated in other conspiratorial
musconduet, including, but not limited to:

(a) destroying documents, videos, and photographs,

(b) preventing the reporting of the torture and abuse to non-
conspiring authorities, the International Committee of the Red Cross (“ICRC”), and
the media,

(c) hiding plaintiff and other prisoners from the ICRC, and

(d) misleading non-conspiring military and government officials
about the state of affairs at the prisons.

CACIIS ENGAGED IN ONGOING EFFORTS
TO COVER UP THE TORTURE

47. CACT has been an ongoing part of this conspiratorial campaign to
prevent the truth about the torture, and CACI’s participation, from ever being
known to the public.

48. CACT embarked upon a campaign of intimidation to suppress any
coverage or investigation of their role in the conspiracy. CACTI repeatedly had its
lawyers send letters threatening legal action to reporters who were considering

reporting on CACI’s role in the torture and mistreatment of prisoners.

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49, As part of this campaign of intimidation, CACI brought a frivolous
lawsuit against a radio station. CACTI lost the lawsuit.

50. Reasonable discovery will establish that CACI did not anticipate
being able to prevail in the lawsuit, but rather brought it in order to intimidate
media members who otherwise would have reported more fully on CACI’s role in
the torture.

5]. CACTI has repeatedly made, and continues to make, knowingly false
statements to the effect that none of its employees was involved in torturing
prisoners. In fact, co-conspirators have admitted that CACI corporate employees
were involved in the torture.

52. CACI’s former Chief Executive Officer has written a book called Our
Good Name, claiming that CACI has conducted a thorough investigation, and
found none of its employees at fault. Based on the description of the investigation
found in this book, it appears that CACI’s view of a “thorough investigation” is an
investigation that fails to include any interviews of the Iraqi torture victims.

53. Nor does the “thorough investigation” include interviews with the
CACI employee Torin Nelson, who blew the whistle on the misconduct of his
colleagues.

54. The book falsely claims that the publicly-released photographs of

torture at Abu Ghraib do not show any CACI employees. In fact, there is a

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photograph of Daniel Johnson interrogating a prisoner in a dangerous and harmful
stress position not authorized by the relevant military regulations governing
interrogation.

55. Reasonable discovery will establish that CACI consulted with one or
more of its co-conspirators during the preparation of this book.

DEFENDANTS KNEW THAT THEIR TORTURE OF PRISONERS
VIOLATED THE LAWS OF THE UNITED STATES

56. Dugan, CACTI, and L-3 intentionally and knowingly agreed to and did
work in concert with the co-conspirators. To the extent that any particular act was
perpetrated by a co-conspirator, Dugan, CACI, and L-3 confirmed and ratified the
same.

57. Defendants knew that the conspiracy to torture would harm Mr. Al
Shimari.

58. CACI and L-3 earned millions of dollars in revenues as a result of
participating in the ongoing conspiracy.

59. CACI and L-3 invested the financial fruits of the conspiracy in their
ongoing operations.

60. Dugan, CACI, and L-3 knew that military officials were prohibited
from torturing prisoners by the Arniy Field Manual and other controlling law, and

that any military officials who were doing so were violating the law.

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61. Dugan, CACI, and L-3 knew that the United States government has
denounced the use of torture and other cruel, inhuman, or degrading treatment at
all times. Dugan, CACI and L-3 knew that it was illegal for them to participate in,
instigate, direct, or aid and abet the torture of plaintiff and other prisoners.

62. For example, in its Initial Report to the United Nations Committee
Against Torture, the United States Department of State noted that, “[t]orture is
prohibited by law throughout the United States. It is categorically denounced as a
matter of policy and as a tool of state authority .... No official of the government,
federal, state or local, civilian or military is authorized to commit or to instruct
anyone else to commit torture. Nor may any official condone or tolerate torture in
any form.” U.S. Department of State: Initial Report of the United States of
America to the U.N, Committee Against Torture, Introduction (1999). The State
Department’s Report on Human Rights Practices characterized the following as
prohibited forms of torture: mock executions, sensory deprivation, repeated
slapping, exposure to cold, stripping and blindfolding, food and sleep deprivation,
threats to detainees or family members, dripping water on the head, squeezing of
the testicles, rape, and sexual humiliation.

63. Dugan, CACI, and L-3 knew that the ban on torture is absolute and no

exigent circumstances permit the use of torture.

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64. Dugan, CACTI, and L-3 knew that the United States intended and
required that any person acting under the contract to the United States would
conduct themselves in accordance with the relevant domestic and international
laws.

65. Dugan, CACI, and L-3 knew and understood that the United States
does not condone torture of prisoners.

66. Defendants cannot credibly claim that the wrongful and criminal
conduct of certain military and government personnel misled them into thinking
that the torture of prisoners was lawful and permissible.

THE CORPORATE DEFENDANTS ACTED NEGLIGENTLY

67. CACTI acted negligently and wrongfully by failing to prevent Dugan
and other employees from engaging in foreseeable and predictable wrongful acts.

68. L-3 acted negligently and wrongfully by failing to prevent Adel
Nakhla and other employees assigned to Iraqi detention centers from engaging in
foreseeable and predictable wrongful acts.

69. CAC] and L-3 acted negligently and wrongfully by failing to
discipline those who engaged in wrongful acts in Iraq.

70. CACTI and L-3 acted negligently and wrongfully by failing to take due

care in hiring employees being deployed to Iraq.

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71. CACT and L-3 acted negligently and wrongfully by failing to train
their employees.

72. CACT and L-3 acted negligently and wrongfully by failing to
supervise adequately their employees. CACI admitted on its web site that CACI
employees in Iraq work under “minimal supervision.” L-3 has likewise admitted
that it failed to supervise its employees.

73. CACTI and L-3 acted negligently and wrongfully by failing to
investigate and report accusations of wrongdoing committed and witnessed by
their employees and agents.

74, CACTI and L-3 profited financially from their negligent misconduct.
The United States paid CACI and L-3 millions of dollars in exchange for their
contractual promises to provide services in a lawful manner.

75. Instead of providing those services in a lawful manner, CACI and L-3
failed to ensure that their employees and agents abided by the contract terms and a
with the Geneva Conventtons.

76. Dugan, CACI, and L-3 injured Mr. Al Shimari and harmed the
reputation of the United States throughout the world.

77. Mr. Al Shimari secks compensatory and punitive damages in an
amount far in excess of the jurisdictional amount set forth in 28 U.S.C. § 1332

($75,000).

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78. Mr. Al Shimari seeks any and all additional remedies (such as
attorneys’ fees) available under law.
COUNT ONE
TORTURE

79. All preceding paragraphs are hereby incorporated by reference as if
fully set forth herein.

80. Defendants’ acts and omissions were deliberate and intentional.
Defendants acted purposefully to punish, intinndate, discriminate, and to obtain
information from Plaintiff, who was in their physical custody and control.

81. The acts committed by Defendants and their agents constitute torture
in violation of the law of nations. The acts of torture committed against Plaintiff
include, among other things, beatings, forced nudity, death threats, withholding of
food, water and necessary medical care, and intentional exposure to extremes of
heat and cold. The acts, done by Defendants working under contract with the
United States, directly contradicted domestic law and the United States’ express
policy against torture.

82. Defendants’ misconduct caused grave and foreseeable injuries to

Plaintiff,

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COUNT TWO
CIVIL CONSPIRACY TO TORTURE

83. All preceding paragraphs are hereby incorporated by reference as if
fully set forth herein.

84. Defendants agreed with each other and others to participate in a series
of unlawful acts.

85. Each Defendant performed one or more overt acts pursuant to and in
furtherance of the common scheme.

86. Defendants are liable for torture because they set the conditions,
directly and indirectly facilitated, ordered, acquiesced, confirmed, ratified, and
conspired with others to torture Plaintiff,

87. Defendants’ knowing participation in the conspiracy caused grave and

foreseeable damages to Plaintiff.

COUNT THREE
AIDING AND ABETTING TORTURE

88. All preceding paragraphs are hereby incorporated by reference as if
fully set forth herein.

89. Defendants knowingly and substantially assisted others in torturing
Plaintiff.

90. Defendants are liable for the torture because they aided and abetted

others who were torturing Plaintiff.

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91. Defendants’ substantial assistance caused grave and foreseeable

damages to Plaintiff.

COUNT FOUR
CRUEL, INHUMAN OR DEGRADING TREATMENT

92, All preceding paragraphs are hereby incorporated by reference as if
fully set forth herein.

93. The acts described herein had the intent and the effect of causing
serious mental and physical pain and suffering to Plaintiff, grossly humiliating and
debasing the Plaintiff, and forcing him to act against is will and conscience,
inciting fear and anguish and breaking his physical or moral resistance.

94. Defendants set the conditions, directly and indirectly facilitated,
ordered, acquiesced, confirmed, ratified, and conspired with others to subject
Plaintiff to cruel, inhuman or degrading treatment.

95. Detendants are liable for their conduct that led to the cruel, inhuman
and degrading treatment of Plaintiff.

96. Defendants’ misconduct caused grave and foreseeable injuries to

Plaintiff.

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COUNT FIVE
CIVIL CONSPIRACY TO TREAT PLAINTIFF IN
A CRUEL, INHUMAN OR DEGRADING MANNER

97. All preceding paragraphs are hereby incorporated by reference as if
fully set forth herein.

98. Defendants agreed with each other and others to participate in a series
of unlawful acts.

99. Each Defendant performed one or more overt acts pursuant to and in
furtherance of the common scheme.

100, Defendants are liable for the cruel, inhuman, and degrading treatment
of Plaintiff because they set the conditions, directly and indirectly facilitated,
ordered, acquiesced, confirmed, ratified, and conspired with others to so treat
Plaintiff.

101. Defendants’ knowing participation in the conspiracy caused grave and
foreseeable damages to Plaintiff.

COUNT SIX
AIDING AND ABETTING
CRUEL, INHUMAN AND DEGRADING TREATMENT

102. All preceding paragraphs are hereby incorporated by reference as if
fully set forth herein.

103. Defendants knowingly and substantially assisted others in treating
Plaintiff in a cruel, inhuman, and degrading manner.

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104. Defendants are liable for the injuries caused by the cruel, inhuman,
and degrading treatment because they substantially aided and abetted others in so
treating Plaintiff.

105. Defendants’ knowing and substantial assistance to others caused grave
and foreseeable damages to Plaintiff.

COUNT SEVEN
WAR CRIMES

106. All preceding paragraphs are hereby incorporated by reference as if
fully set forth herein.

107. Defendants’ acts were deliberate, willful, intentional, wanton,
malicious, and oppressive and constitute grave breaches of the Geneva
Conventions and war crimes. These acts included torture, cruel, inhuman and
degrading treatment, and willfully causing great suffering and serious bodily injury
to Plaintiff,

168. Defendants’ acts took place during a period of armed conflict, in
connection with hostilities.

109. Defendants set the conditions, directly and indirectly facilitated,
ordered, acquiesced, confirmed, ratified, and conspired with others to commit war
crimes against Plaintiff.

110. Defendants are liable for their conduct that constitutes war crimes.

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111. Defendants’ misconduct caused grave and foreseeable injuries to
Plainutf.

COUNT EIGHT
CIVIL CONSPIRACY TO COMMIT WAR CRIMES

112. All preceding paragraphs are hereby incorporated by reference as if
fully set forth herein.

113. Defendants agreed with each other and others to participate in a series
of unlawful acts.

114. Each Defendant performed one or more overt acts pursuant to and in
furtherance of the common scheme.

115. Defendants are liable for war crimes against Plaintiff because they set
the conditions, directly and indirectly facilitated, ordered, acquiesced, confirmed,
ratified, and conspired with others to commit war crimes against Plaintiff.

116. Defendants’ knowing participation in the conspiracy caused grave and
foreseeable damages to Plaintiff.

COUNT NINE
AIDING AND ABETTING COMMISSION OF WAR CRIMES

117. All preceding paragraphs are hereby incorporated by reference as if
fully set forth herein.
118. Defendants knowingly and substantially assisted others in committing

war crimes against Plaintiff.

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119. Defendants are liable for the injuries caused by the war crimes
because they substantially aided and abetted others in committing war crimes
against Plaintiff.

120. Defendants’ knowing and substantial assistance to others in the
commission of war crimes caused grave and foreseeable damages to Plaintiff.

COUNT TEN
ASSAULT AND BATTERY

121. All preceding paragraphs are hereby incorporated by reference as if
fully set forth herein.

[22, Defendants unlawfully intended to and did inflict immediate injury
upon Plaintiff.

123. Defendants intentionally assaulted, battered, and made other offensive
contacts’ and aided and abetted the assaulting and battering and offensively
contacting, of the Plaintiff.

124. Plaintiff did not consent to the offensive contacts. Plaintiff feared his
personal safety and felt threatened by Defendants’ actions.

125. Defendants set the conditions, directly and indirectly facilitated,
ordered, acquiesced, confirmed, ratified, and conspired with others to commit the
assaults and batteries.

126, Defendants’ acts caused grave and foreseeable damages to Plaintiff.

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COUNT ELEVEN
CIVIL CONSPIRACY TO ASSAULT AND BATTER

127. All preceding paragraphs are hereby incorporated by reference as if
fully set forth herein.

128, Defendants agreed with each other and others to participate in a series
of unlawful acts.

129, Each Defendant performed one or more overt acts pursuant to and in
furtherance of the common scheme.

130. Defendants are liable for the assaults and batteries against Plaintiff
because they because they set the conditions, directly and indirectly facilitated,
ordered, acquiesced, confirmed, ratified, and conspired with others to commit the
assaults and batteries.

131. Defendants’ knowing participation in the conspiracy to assault and
batter caused grave and foreseeable damages to Plaintiff.

COUNT TWELVE
AIDING AND ABETTING
ASSAULTS AND BATTERIES

132. All preceding paragraphs are hereby incorporated by reference as if

fully set forth herein.

133. Defendants knowingly and substantially assisted others in assaulting

and battering Plaintiff.

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134. Defendants are liable for the injuries caused because they
substantially aided and abetted others in assaulting and battering Plaintiff.

135. Defendants’ knowing and substantial assistance to others caused grave
and foreseeable damages to Plaintiff.

COUNT THIRTEEN
SEXUAL ASSAULT AND BATTERY

136, All preceding paragraphs are hereby incorporated by reference as if
fully set forth herein.

137. Plaintiff was sexually assaulted and battered by Defendants and their
co-conspirators,

138. Defendants intended to, and did, cause offensive sexual contacts with
intimate parts of Plaintiff. Defendants acted to cause Plaintiff imminent
apprehension of harmful and offensive contact with his intimate parts.

139. Plaintiff did not consent to the contacts. Plaintiff feared for his
personal safety and felt threatened by Defendants’ actions.

140. Defendants set the conditions, directly and indirectly facilitated,
ordered, acquiesced, confirmed, ratified, and conspired with others to sexually
assault and batter Plaintiff,

141. Defendants’ act caused grave and foreseeable damages to Plaintiff.

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COUNT FOURTEEN
CIVIL CONSPIRACY TO SEXUALLY ASSAULT AND BATTER

142, Ail preceding paragraphs are hereby incorporated by reference as if
fully set forth herein.

143. Defendants agreed with each other and others to participate in a series
of unlawful acts.

144. Each Defendant performed one or more overt acts pursuant to and in
furtherance of the common scheme.

145. Defendants are lable for the sexual assaults and batteries against
Plaintiff because they set the conditions, directly and indirectly facilitated,
ordered, acquiesced, confirmed, ratified, and conspired with others to sexually
assault and batter Plaintiff.

146. Defendants’ knowing participation in the conspiracy caused grave and

foreseeable damages to Plaintiff.

COUNT FIFTEEN
AIDING AND ABETTING
SEXUAL ASSAULTS AND BATTERIES
147, All preceding paragraphs are hereby incorporated by reference as if
fully set forth herein.

148, Defendants knowingly and substantially assisted others in sexually

assaulting Plaintiff.

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149. Defendants are liable for the injuries caused by the crimes because
they substantially aided and abetted others in sexually assaulting and battering
Plaintiff.

150. Defendants’ knowing and substantial assistance to others caused grave
and foreseeable damages to Plaintiff.

COUNT SIXTEEN
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

151. All preceding paragraphs are hereby incorporated by reference as if
fully set forth herein.

152. Defendants intentionally inflicted severe emotional distress by way of
extreme and outrageous conduct on Plaintiff. Defendants intended or recklessly
disregarded the probability of Plaintiff suffering emotional distress when directing
offensive conduct toward Plaintiff or carrying out offensive conduct while aware
of Plaintiffs presence.

153. Defendants set the conditions, directly and indirectly facilitated,
ordered, acquiesced, confirmed, ratified, and conspired with others to inflict
emotional distress on Plaintiff.

154. Defendants’ acts caused grave and foreseeable injuries to Plaintiff.

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COUNT SEVENTEEN
CIVIL CONSPIRACY TO INFLICT EMOTIONAL DISTRESS

155. All preceding paragraphs are hereby incorporated by reference as if
fully set forth herein.

156. Defendants agreed with each other and others to participate in a series
of unlawful acts.

157. Each Defendant performed one or more overt acts pursuant to and in
furtherance of the common scheme.

158. Defendants are lable for intentional infliction of emotional distress on
Plaintiff because they because they set the conditions, directly and indirectly
facilitated, ordered, acquiesced, confirmed, ratified, and conspired with others to
inflict emotional distress on Plaintiff.

{59, Defendants’ knowing participation in the conspiracy to inflict
intentionally emotional distress caused grave and foreseeable damages to Plaintiff.
COUNT EIGHTEEN
AIDING AND ABETTING
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

160. All preceding paragraphs are hereby incorporated by reference as if
fully set forth herein.

161. Defendants knowingly and substantially assisted others in

intentionally inflicting emotional distress upon Plaintiff.

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162. Defendants are liable for the injuries caused by the intentional
infliction of emotional distress because they substantially aided and abetted others
in causing the emotional distress to Plaintiff.

163. Defendants’ knowing and substantial assistance to others caused grave
and foreseeable damages lo Plaintiff.

COUNT NINETEEN — AGAINST THE CORPORATE DEFENDANTS
NEGLIGENT HIRING AND SUPERVISION

164. All preceding paragraphs are hereby incorporated by reference as if
fully set forth herein.

165. Defendants acted negligently and directly harmed Plaintiff by taking
or failing to take one or more of the following steps:

(a) failing to take the appropriate steps in hiring proper personnel to perform

services;

(b) failing to screen properly personnel before their hiring;

(c) failing to train personnel or subsidiary personnel properly to perform

services in a legal fashion;

(d) failing to investigate allegations of torture and abuse carried out by their

subsidiaries or their employees;

(e) failing to report to the government allegations of torture and abuse

carried out and witnessed by their agents;

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(f) failing to adequately supervise and discipline their employees; and
(¢) negligently setting the conditions that facilitated the abuse.
166. The negligence of CACI and L-3 directly and foreseeably harmed
Plaintiff.
COUNT TWENTY —
AGAINST THE CORPORATE DEFENDANTS
NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
167. All preceding paragraphs are hereby incorporated by reference as if
fully set forth herein.
168. Defendants negligently inflicted severe emotional distress on Mr. Al
Shimari.
169, Defendants had a duty to Plaintiff, which they breached.
170. The negligence of CACI and L-3 directly and foreseeably harmed Mr.
Al-Shimari.
JURY DEMAND AND PRAYER FOR DAMAGES
171. Mr. Al Shimari seeks a jury trial. Mr, Al Shimari is entitled to any
and all remedies available as a result of the conduct alleged herein, including, but
not limited to:

{a) compensatory damages for physical, mental, and economic

injuries;

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(b) punitive damages in an amount sufficient to punish Defendants
for engaging in human rights abuses and deter similar behavior; and

(c) any attorneys’ fees and costs permitted by law,

Date: June 30, 2008 Po,
Duaanu Dune Legend AL
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